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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY
EMPLOYEES UNION, et al.,

                          Plaintiffs,

                     v.                                   Case No. 1:25-cv-00381-ABJ

Russell VOUGHT, in his official capacity as
Acting Director of the Consumer Financial
Protection Bureau, et al.,
                          Defendants.


  BRIEF OF 203 MEMBERS OF CONGRESS AS AMICI CURIAE IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


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                                INTERESTS OF AMICI CURIAE 1

        Proposed amici are 203 members of Congress who are well-acquainted with the Dodd-

Frank Wall Street Reform and Consumer Protection Act of 2010 (Dodd-Frank), Pub. L. No. 111-

203, 124 Stat. 1376, and the regulatory framework it established to protect consumers in the U.S.

financial marketplace. They include members who sponsored Dodd-Frank, participated in drafting

it, serve or served on committees with jurisdiction over the federal financial regulatory agencies

and the banking industry, and currently serve in the leadership or served in the leadership when

Dodd-Frank was passed. They are thus familiar with the essential role that the Consumer Financial

Protection Bureau (CFPB or the Bureau) plays in Dodd-Frank’s framework. Significantly, based

on their experiences, amici know that Congress created the CFPB as a new agency with

consolidated consumer financial protection authority and gave the Bureau extensive—and in many

cases exclusive—mandatory responsibilities and obligations to regulate the very financial

institutions whose conduct led to the 2008 financial crisis. Defendants’ recent actions toward the

CFPB, including implementing sweeping stop-work orders with plans to arbitrarily fire most

employees, represent blatant disregard for Congress’s role and express directives in clear violation

of Dodd-Frank and the Constitution’s mandate that the laws be faithfully executed. Not only do

those efforts violate our law and constitutional structure, they also threaten the consumers the

CFPB was created to protect—and has protected since its creation a decade and a half ago. Amici

thus have a substantial interest in this case.

        A full list of amici appears in the Appendix.




        1
         Pursuant to LcR7(o) and FRAP 29(a)(4)(E), no party’s counsel authored this brief, in
whole or in part. No party or party’s counsel contributed money that was intended to fund preparing
or submitting this brief. No person other than amici curiae or their counsel contributed money that
was intended to fund preparing or submitting this brief.
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                   INTRODUCTION AND SUMMARY OF ARGUMENT

       The CFPB was born out of the most severe economic and financial crisis since the Great

Depression. Congress thoroughly investigated the root causes of the 2008 crisis and determined

that regulatory failures were largely to blame. Because responsibility for consumer financial

protection was dispersed across federal agencies, consumers were, at best, a secondary

consideration for regulators. After an exhaustive legislative process, Congress passed the Dodd-

Frank Wall Street Reform and Consumer Protection Act of 2010 (Dodd-Frank), Pub. L. No. 111-

203, 124 Stat. 1376. One of the greatest achievements of that bipartisan effort was to consolidate

consumer financial protection in a single agency, the CFPB, that would be a watchdog for

consumers, armed with the legal authority necessary to prevent another financial meltdown.

       President Trump and Defendants seek to undo this progress by Executive fiat, leaving

consumers and financial markets unprotected. There is no doubt as to their intent: It is to “shut

down” the CFPB. 2 Since his installation as Acting Director of the CFPB, Defendant Vought has

taken swift action to achieve that goal and dismantle the Bureau in its entirety. Chief among those

actions is his sweeping stop-work order suspending Bureau operations. See ECF 23-4.

       Clearly these actions are not the normal personnel decisions that come with any

government transition. Contra Defs.’ Opp., ECF 31, at 11, 13. They are a brazen violation of both

Dodd-Frank and the Constitution’s fundamental principle of separation of powers. Congress

exercised its power under Article I of the Constitution to legislate the creation of the CFPB and to

require it to perform certain statutory functions. Congress vested the Bureau with the authority to

interpret and enforce consumer protection laws, to supervise and regulate the most consequential



       2
         President Donald Trump, Remarks at Future Investment Initiative Summit (Feb. 19,
2024), https://perma.cc/T8Z2-L5C9; see also Trump confirms goal to shutter CFPB, ABA
BANKING JOURNAL (Feb. 11, 2025), https://perma.cc/UMX7-47JW.
                                                 2
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bank and nonbank financial institutions in the country, to receive and respond to consumer

complaints, and more. Defendants cannot unilaterally undo Congress’s reasoned determination

that consumers need a watchdog. Only Congress can do that.

       The President, of course, may disagree with laws enacted by Congress. When that happens,

the remedy is to participate in the political process and make a policy proposal to Congress, as

Congress is the only branch of government empowered to make laws and, as relevant here, enact

legislation that would dismantle a statutorily created agency. This nation’s history contains many

examples of the branches working together to do just that.

       Defendants’ stop-work order will have severe consequences for the American people. The

CFPB has been a resounding success. It has delivered more than $21 billion back to consumers

who have been defrauded by entities like large banks, loan servicers, debt collectors, and payday

lenders, some of which were previously not subject to federal supervision. Among the many ways

the CFPB has protected consumers, it has confronted the unlawful practices of some of the

country’s largest financial institutions in lawsuits and enforcement actions, provided certainty and

guidance to financial institutions of all sizes, enforced protections against discrimination in

consumer financial markets, and halted predatory targeting of servicemembers and their families.

       Defendants have now stopped the Bureau’s congressionally mandated activities in their

tracks. For example, the CFPB is statutorily required to timely respond to consumer complaints,

see 12 U.S.C. § 5534(a), yet processing rates for these complaints have plummeted since

Defendants’ orders. 3 What is more, Defendants have instructed Bureau staff to stop working on

pending litigation, abruptly dismissing or effectively suspending nearly forty enforcement actions




       3
        See Joey Garrison, Thousands of CFPB Complaints Unanswered after Trump CFPB
Purge, USA TODAY (Feb. 25, 2025), https://perma.cc/2ZVG-2CNX.
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against a range of bank and nonbank entities, 4 thereby depriving consumers of money they are due

and sending a message that risky and unlawful conduct will now go unchecked. If Defendants are

successful in their attacks on the CFPB, they will have destroyed the framework Congress created

for safeguarding the finances of millions of consumers. As a result, entire swaths of the market

will go unprotected from the type of predatory conduct that caused the 2008 crisis because no other

federal or state agency has the necessary authority to fill many of the regulatory gaps the Bureau’s

absence would leave. Amici respectfully urge this Court to grant Plaintiffs’ motion for a

preliminary injunction.

                                          ARGUMENT

      I.       Congress exercised its constitutional authority to create the CFPB in response
               to the financial crisis of 2008.

        Congress enacted Dodd-Frank in response to the “worst financial meltdown since the Great

Depression.” Fin. Crisis Inquiry Comm’n, The Financial Crisis Inquiry Report 3 (2011)

(hereinafter, Financial Crisis Inquiry Report). The 2008 crisis “shattered” lives, “shuttered”

businesses, “evaporated” savings and wealth, and caused millions of families to lose their homes.

S. Rep. No. 111-176, at 39 (2010). More than twenty-six million Americans found themselves out

of work or unable to find full-time work, and more than 4 million families lost their homes to

foreclosure. Financial Crisis Inquiry Report, supra, at xv; see also Seila Law LLC v. CFPB, 591

U.S. 197, 205 (2020) (The 2008 crisis “wiped out over $10 trillion in American household wealth

and cost millions of Americans their jobs, their retirements, and their homes.”). The crisis had

profound consequences for institutions too: Between 2008 and 2013, almost 500 banks failed at a



       4
        See Douglas Gillison, Trump admin drops 5 consumer watchdog cases, including
Capital One, REUTERS (Feb. 27, 2025), https://perma.cc/9NH5-ER7D; Student Borrower Prot.
Ctr. & Consumer Fed. of Am., Memorandum re: Outstanding CFPB Enforcement Actions (Feb.
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cost of approximately $73 billion to the Deposit Insurance Fund, which is funded by the banking

industry. 5 Most of the failed institutions were community banks, located in parts of the country

where the subprime mortgage crisis and the recession hit the hardest. 6 At the height of the crisis in

2008, investors and creditors lost confidence in markets, credit markets froze, and the government

was required to intervene on an unprecedented scale. 7

        Congress determined that this catastrophe was caused in part by a “spectacular failure” of

regulators “to protect average American” consumers. See S. Rep. No. 111-176, at 15. Before Dodd-

Frank, regulatory authority was dispersed across seven agencies with different jurisdictions and

regulatory approaches, id. at 10, resulting in “finger pointing among regulators and inaction when

problems with consumer products and services arose,” id. at 168; see also Financial Crisis Inquiry

Report, supra, at xviii (emphasizing that federal regulators “had ample power” but “chose not to

use it”). Because consumer financial protection was no agency’s “primary mission,” S. Rep. No.

111-176, at 10, it “fail[ed] to get the attention or focus it need[ed].” Id.; see also id. (describing the

dispersed regulatory system as “too fragmented to be effective”); H.R. Rep. No. 111-367, pt. 1, at

91 (2009) (identifying the “disparate regulatory system” as contributing to the financial crisis).

        To remedy these failures and prevent a similar crisis in the future, Congress took decisive

bipartisan action. After an exhaustive legislative process involving more than 100 hearings,

testimony from more than 560 witnesses, and proceedings that filled more than 12,000 transcript

pages, Congress passed Dodd-Frank. 8 To ensure that consumer financial protections would receive



        5
         Fed. Deposit Ins. Corp., Crisis and Response: an FDIC History 2008-2013 xiii (2018).
        6
         Id. at xiv.
       7
         Id. at xvi.
       8
          See S. Rep. No. 111-176, at 44-46 (detailing this extensive legislative process); Rick
McKinney, Dodd-Frank Wall Street Reform and Consumer Financial Protection Act: A Brief
Legislative History with Links, Reports and Summaries, Law Librs.’ Soc’y of Washington, DC
(Oct. 13, 2017), https://perma.cc/8FPZ-9FC7 (same).
                                                    5
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undivided attention from a single agency with specialized expertise, Title X of Dodd-Frank, the

Consumer Financial Protection Act (CFPA), created a new federal agency—the CFPB. The

Bureau’s sole mission was to protect Americans from harmful practices in the consumer finance

industry. Congress therefore “end[ed] the fragmentation of the current system,” S. Rep. No. 111-

176, at 11, by transferring to the CFPB the previous “consumer financial protection functions” of

other regulators like the Board of Governors of the Federal Reserve System, the Office of the

Comptroller of the Currency (OCC), and the Office of Thrift Supervision (OTS), 12 U.S.C. § 5581,

and endowing the CFPB with new responsibilities necessary to protect consumers and promote

stability in consumer financial markets, Seila Law, 591 US at 206.

       Congress conferred on the CFPB mandatory responsibilities, including to create and staff

a number of offices that must, among other things, develop educational materials to improve

consumer financial literacy, 12 U.S.C. § 5493(d), particularly in specified populations like

servicemembers and older Americans, id. §§ 5493(e), (g); coordinate with other federal agencies,

id. §§ 5493(e)(1)(c), (g)(3)(e); and report to Congress on their initiatives, id. § 5496. Congress also

required the CFPB to create an Office of Minority and Women Inclusion, which is legally required

to, among other things, create standards for equal opportunity within the CFPB and ensure

participation of minority- and women-owned businesses in the CFPB’s programs and contracts.

See generally id. § 5452.

       In addition, Congress gave the Bureau rulemaking, supervision, and enforcement

responsibilities. As to rulemaking, Congress delegated to the CFPB “exclusive rulemaking

authority” under all federal consumer financial protection laws, id. §§ 5512(4)(A), 5581(a)(1),

with some limited exceptions, see, e.g., id. § 5581(b)(5)(E). To inform that rulemaking authority

and Congress’s own legislative authority, Congress mandated that the CFPB “shall monitor for



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risks to consumers in the offering or provision of consumer financial products or services” and

issue reports on those emerging risks. Id. §§ 5512(c)(1), (c)(3).

       As to supervision, Congress gave the CFPB “exclusive” power to examine and require

reports from the largest depository institutions regarding their compliance with consumer financial

protection laws: national banks, thrifts, and credit unions with assets exceeding $10 billion

(collectively hereinafter, banks). Id. §§ 5515(a)(1), (b)(1). And, based on lessons learned from the

2008 crisis, Congress made the Bureau the first, and generally the only, federal regulator to

supervise many non-depository or “nonbank” financial companies, including mortgage

companies, private student lenders, payday lenders, debt collectors, and credit reporting agencies.

See id. § 5514(a)(1); S. Rep. No. 111-176, at 167; CFPB to Supervise Credit Reporting, Consumer

Fin. Prot. Bureau (July 16, 2012), https://perma.cc/V8VB-EBQQ. Congress required the Bureau

to perform its examinations of these banks and nonbanks periodically. See 12 U.S.C.

§§ 5514(b)(1), 5515(b)(1).

       Finally, as to enforcement, Congress delegated to the CFPB “primary” authority to enforce

consumer financial laws against the large banks under its supervision, 12 U.S.C. § 5515(c)(1), and

“exclusive” authority among other federal agencies to enforce consumer financial laws against the

nonbanks under its supervision, id. § 5514(c)(1). To support its work, the CFPB must maintain a

process for accepting and tracking consumer complaints and report to Congress on that complaint

data every year. Id. §§ 5534(a), 5493(b)(3)(C). It must issue other regular reports too, many of

which must be delivered to Congress, serving as a critical tool to update Congress about risks to

consumers in financial markets and inform future legislation. See, e.g., id. § 5496(c) (requiring

reporting on problems faced by consumers in obtaining financial products and providing list of

supervisory or enforcement actions taken).



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        In short, Congress’s reasoned decision-making—made in the wake of and in response to

the 2008 financial crisis—resulted in the creation of the Bureau to support and prioritize consumer

financial protection through a single government agency. Congress clearly and precisely specified

that it wanted the Bureau, not other federal agencies, exercising specified rulemaking, supervision,

and enforcement authority. Defendants now seek to undo that statutory mandate without going

through the legislative process. They cannot do so under the Constitution.

     II.       Only Congress has the power to shutter the CFPB.

       President Trump and Acting Director Vought cannot unilaterally eliminate a federal agency

created by Congress. Although they claim to be issuing “routine[]” directives that come at the start

of any administration, Defs.’ Opp., ECF 31, at 1, their actions reveal a swift and concerted effort

to dismantle the CFPB. Acting Director Vought issued an expansive stop-work order, instructing

CFPB employees to cease doing “any work tasks,” ECF 23-4, which includes the Bureau’s

statutorily mandated work, such as supervising banks for compliance with consumer financial

protection laws. 9 He closed and removed signs at the Bureau’s headquarters. See ECF 14 at 11.

And he arbitrarily fired employees, with potential plans to transfer others to different agencies. See

id. at 18-19. The intent is clear. President Trump has repeatedly stated that his goal is to “shut

down” the CFPB. See supra note 1. Highlighting President Trump and Acting Director Vought’s

intent to shutter the Bureau, Elon Musk, who has publicly held himself out as leading the so-called

Department of Government Efficiency (DOGE) publicly posted, “RIP CFPB,” on his social media




        9
          Moreover, as of this filing, the Bureau has abruptly dismissed at least six cases and
effectively suspended dozens of pending enforcement cases. See SBPC/CFA Memo, supra note 4;
Gillison, Trump admin drops 5 consumer watchdog cases, including Capital One, supra note 4;
Christine Chen Zinner, Predatory Fintechs Score as Trump-Musk CFPB Caves on Lawsuit, Ams.
for Fin. Reform (Feb. 22, 2025), https://perma.cc/67K5-EX2X.
                                                  8
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account while DOGE employees were granted access to the CFPB and the sensitive data it holds. 10

Thus, whether by taking actions that effectively end the Bureau’s work or by simply refusing to

continue its congressionally mandated duties, Defendants seek to do what only Congress can do:

amend Dodd-Frank. The CFPB must continue to exist, in practice and in name, until Congress

decides otherwise.

        “The President’s power, if any, to issue [an] order must stem either from an act of Congress

or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952).

As to the latter, Article I vests “all legislative powers” in Congress, U.S. Const., art. I, § 1, and “no

provision in the Constitution [] authorizes the President to enact, to amend, or to repeal statutes,”

Clinton v. City of New York, 524 U.S. 417, 438 (1998), including the statute creating the CFPB.

That power rests with Congress, and Congress alone. See INS v. Chadha, 462 U.S. 919, 954 (1983)

(The “repeal of statutes, no less than enactment, must conform with Art. I.”); see also Helvering v.

Or. Mut. Life Ins. Co., 311 U.S. 267, 272 (1940) (concluding that “only Congress can take away”

a particular right conferred by statute). “As Madison explained in The Federalist No. 47, under our

constitutional system of checks and balances, ‘the magistrate in whom the whole executive power

resides cannot of himself make a law.’” Medellin v. Texas, 552 U.S. 491, 528 (2008). To hold

otherwise “would be clothing the President with a power entirely to control the legislation of

congress.” Kendall v. U.S. ex rel. Stokes, 37 U.S. (12 Pet.) 524, 613 (1838).

        Nor is there a statutory basis for Defendants’ actions. There “is no statute that expressly

authorizes the President” to dissolve the CFPB or transfer its congressionally mandated

responsibilities to other agencies, and there is no “act of Congress from which such a power can



        10
          See CFPB RIP – Elon Musk’s Promise to Delete the Agency will Hurt Working Class
Families, U.S. House Comm. on Fin. Servs., Democrats (Feb. 8, 2025), https://perma.cc/R5QB-
F28J.
                                                   9
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be fairly implied.” See Youngstown, 343 U.S. at 585. Although previous laws known as

Reorganization Acts delegated to Presidents the authority to restructure the Executive branch—

including, under some versions of the statute, by establishing, abolishing, consolidating, or

transferring the power of a department or independent agency—Congress let the last

Reorganization Act lapse in 1984. 11 Now, the President lacks any general authorization from

Congress to dissolve or restructure executive agencies that Congress created by statute.

       Nor does Dodd-Frank itself delegate to the President the authority to dismantle the CFPB.

To the contrary, the Act vests in Congress substantial oversight responsibility over the Bureau.

Among other things, Congress receives regular reports from the agency, 12 has directed the agency

to undertake rulemakings, 13 and has disapproved of certain regulations under the Congressional

Review Act, 5 U.S.C. §§ 801-08. 14 Even while amending the CFPB’s governing statutes from time

to time, Congress has rejected efforts to eliminate the Bureau wholesale. 15 So, too, has the Supreme

Court. See CFPB v. Community Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416 (2024) (concluding

that the CFPB funding mechanism was consistent with the Appropriations Clause); Seila Law, 591

U.S. at 208 (concluding narrowly that for-cause removal of director of CFPB circumscribed the

President’s ability to oversee the Executive branch, but severing the offending provision).




       11
           See Cong. Rsch. Serv., RL30876, The President’s Reorganization Authority: Review and
Analysis 1, 4-9 (2001); 5 U.S.C. § 904 (1984).
        12
           See 12 U.S.C. § 5496(a).
        13
           See, e.g., National Defense Authorization Act for Fiscal Year 2022, Pub. L. No. 117-81,
§ 6102, 135 Stat. 1541, 2383-84 (2021) (directing CFPB to issue rule related to adverse
information in consumer reports resulting from human trafficking).
        14
           See Pub. L. No. 115-74, 131 Stat. 1243 (2017) (disapproving CFPB rule related to
arbitration agreements); Pub. L. No. 115-172, 132 Stat. 1290 (2018) (disapproving CFPB rule
related to indirect auto lending).
        15
           See H.R. 3118, 114th Cong. (2015) (proposed bill to “eliminate the Bureau of Consumer
Financial Protection by repealing title X of the Dodd-Frank Wall Street Reform and Consumer
Protection Act, commonly known as the Consumer Financial Protection Act of 2010”).
                                                 10
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        Without power “from the Constitution itself” or “an act of Congress,” Youngstown, 343

U.S. at 585—both of which are wholly lacking here—a President who disagrees with a law enacted

by Congress is “limit[ed] . . . to the recommending of laws he thinks wise and the vetoing of laws

he thinks bad,” id. at 587. In other words, the President must participate in the political process

and adhere to our constitutional structure, not simply ignore them. And unless and until Congress

changes the laws, the President must follow them. Indeed, John Michael (“Mick”) Mulvaney, the

Acting Director of the CFPB during President Trump’s first term, understood this. As much as he

personally disagreed with the mission of the CFPB, he acknowledged in a periodic request for

funding from the Federal Reserve that he was still “bound to execute the law as written,” which in

turn required ensuring that the Bureau had sufficient funding to carry out its legal responsibilities. 16

By contrast, Acting Director Vought’s instructions flout Dodd-Frank and prevent the Bureau from

performing its various statutorily mandated responsibilities, like supervising banks and nonbanks.

See 12 U.S.C. §§ 5514(b)(1), 5515(b)(1).

        In fact, America’s history includes numerous examples of the branches working together

to either restructure or eliminate a statutorily created agency. Dodd-Frank is one. In response to a

proposal from the Obama Administration, the Act eliminated one agency, OTS, and transferred its

remaining powers to other agencies within the Executive branch. See 12 U.S.C. § 5412(b)(2)(B)(i);

S. Rep. No. 111-176, at 25-26 (describing Obama Administration’s proposal to abolish OTS, which

had been responsible for regulating the thrifts that accounted for 73% of failed institution assets in

the 2008 crisis). Similarly, following the attacks of September 11, 2001, Congress passed the

Homeland Security Act of 2002 to bring together the national security functions of disparate



        16
          Letter from Mick Mulvaney, Acting Director, Consumer Financial Protection Bureau, to
Jerome Powell, Chair, Board of Governors of the Federal Reserve System (Mar. 23, 2018) (on file
with the Consumer Financial Protection Bureau), https://perma.cc/GR6E-2YRD.
                                                   11
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agencies in the Executive branch and place them under the umbrella of the newly created

Department of Homeland Security, abolishing some agencies in the process. See Homeland

Security Act of 2002, Pub. L. No. 107, 296, §§ 441, 451(b), 471, 116 Stat. 2135, 2192, 2195-96,

2205. As a final example, Congress abolished and transferred the powers of the Interstate

Commerce Commission (ICC), which had previously regulated railroad companies, after “a multi-

decade process” during which “Congress and the President had been actively reconsidering the

[ICC’s] regulatory mission.” 17 All three of these changes followed exhaustive legislative processes

with significant input from the President, exemplifying how our constitutional system is intended

to operate. Here, however, rather than trying to persuade Congress to exercise its authority to

amend or repeal portions of Dodd-Frank, the President seeks to evade that well-established process

with an unconstitutional power grab. That cannot stand.

    III.       Shuttering the CFPB would leave consumers and businesses exposed and
               many financial institutions unregulated.

       The CFPB has been a resounding success. Since its creation, the Bureau has vigorously

used its powers to regulate consumer financial markets, ensuring that banks and nonbank entities

alike are not engaging in risky, deceptive, or unfair practices that could destabilize the market and

lead to another financial meltdown. To date, the CFPB has returned more than $21 billion

improperly taken from at least 205 million consumers, in addition to at least $5 billion in civil

penalties made available to compensate consumers in cases where the business that took their

money is insolvent. 18




       17
           See Henry B. Hogue, Cong. Rsch. Serv., R47897, Abolishing a Federal Agency: The
Interstate Commerce Commission 2 (Jan. 10, 2024); see also Interstate Commerce Commission
Termination Act of 1995, Pub. L. No. 104-88, 109 Stat. 803.
        18
            The CFPB, Consumer Fin. Prot. Bureau (last updated Dec. 3, 2024),
https://perma.cc/MDD4-CQP6.
                                                 12
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       A sudden halt to the CFPB’s important—and mandatory—work would also be devastating

for consumers, small businesses, and the country’s overall financial stability. Formally or

practically eliminating the CFPB—for example, through stop-work orders and a significant

reduction in its workforce—would upend Dodd-Frank’s framework: new and ongoing rulemaking

would cease, preventing regulatory responses to evolving financial technology and markets;

supervision would cease, leaving many financial institutions unmonitored and unchecked; and

enforcement of many consumer financial protection laws would be limited, leaving millions of

consumers with little recourse for the money they lose to unlawful financial practices. Already, the

Bureau has abruptly dismissed or effectively suspended nearly forty pending enforcement

actions—depriving any harmed consumers of money they are entitled to recoup and sending a

message to financial institutions that their unlawful conduct will now go unchecked. 19 The effects

would be felt in all corners of the markets for consumer financial products and services.

       The following sections provide specific examples of the CFPB’s work and the harm that

will result if Defendants succeed in dismantling the Bureau.

Supervising Financial Institutions

       As explained in Part I, supra, the CFPB is the only federal agency authorized to supervise

the nation’s largest banks for their compliance with consumer financial protection laws. It also

supervises nonbanks of all sizes in certain market segments, like mortgage companies and payday

lenders, as well as larger nonbank participants in other consumer financial market segments, like

credit reporting agencies, digital payment apps, and debt collectors. Congress empowered the




       19
         See Gillison, Trump admin drops 5 consumer watchdog cases, including Capital One,
supra note 4; SBPC/CFA Memo, supra note 4.
                                                13
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CFPB in this way to improve oversight of the consumer financial marketplace based on lessons

learned from the 2008 financial crisis. The Bureau has taken its authority seriously.

       The CFPB employs hundreds of examiners who engage in year-round supervision of these

institutions to ensure compliance with consumer financial protection laws. Critically, this work has

helped identify potentially unlawful practices early and remedy them before the need for

enforcement arises. For example, after the CFPB identified issues with potentially illegal overdraft

fees among the large banks it supervised, those institutions agreed to refund nearly $250 million

to consumers. 20 As an example of the CFPB’s supervision of nonbanks, the Bureau has actively

monitored the mortgage industry following a period of increasing default servicing activity related

to the COVID-19 pandemic 21 as well as student loan lenders and servicers. 22

       This supervision has led to enforcement actions by the Bureau against the nation’s largest

banks for violations of consumer protection laws. As just two examples, Wells Fargo agreed to a

$100 million civil penalty for opening deposit and credit accounts in consumers’ names without

their knowledge, 23 and Bank of America agreed to pay $250 million for opening fake credit card

accounts without authorization, illegally charging repeated “insufficient funds” fees for the same

transaction, and withholding rewards promised to consumers. 24 In the nonbank realm, an

enforcement action against student-loan servicer Navient Corporation for among other things,




       20
           Consumer Fin. Prot. Bureau, Supervisory Highlights: Issue 37 (Winter 2024) 5 (2024).
       21
           Consumer Fin. Prot. Bureau, Supervisory Highlights, Mortgage Servicing Edition: Issue
33 (Spring 2024) 1 (2024).
        22
           Consumer Fin. Prot. Bureau, Supervisory Highlights: Special Edition Student Lending,
Issue 36 (Winter 2024) (2024).
        23
           Wells Fargo Bank, N.A., CFPB No. 2016-CFPB-0015 (Sept. 8, 2016) (consent order).
        24
           Bank of America, N.A., CFPB No. 2023-CFPB-0007 (July 11, 2023) (consent order);
CFPB Takes Action Against Bank of American for Illegally Charging Junk Fees, Withholding
Credit Card Rewards, and Opening Fake Accounts, Consumer Fin. Prot. Bureau (July 11, 2023),
https://perma.cc/4UEA-V6TD.
                                                14
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botching payment processing and misleading borrowers about their repayment plans, resulted in

$100 million paid back to consumers, a $20 million civil penalty fine, and a permanent ban on

Navient serving federal student loans. 25

       Defendants have suspended this vital work, directing CFPB employees to cease “all

supervision and examination activity” 26 and, apparently, enforcement activity too. 27 As of

February 27, 2025, the Bureau has abruptly dismissed at least six actions: one against Capital One

for allegedly misleading millions of consumers about interest rates on saving accounts that cost

them more than $2 billion; one against a student loan servicer for allegedly collecting on student

loans discharged in bankruptcy; one against a mortgage lender for allegedly steering borrowers

toward unaffordable mortgages to buy manufactured homes; one against one of the largest

mortgage lenders in the country for allegedly taking illegal kickbacks; one against an installment

lender for using “loan churning” to generate millions in fees and added costs; and one against an

online lending platform for allegedly deceiving borrowers about fees on its loans that cost

borrowers more than $20 million. 28 Moreover, the Bureau does not appear to have taken steps to

settle or otherwise obtain consumer relief in other pending enforcement actions, such as a pending

(as of February 27, 2025) action against JPMorgan Chase, Bank of America, and Wells Fargo for

allegedly allowing fraud to proliferate on their payment app, Zelle, costing consumers over $870




       25
           CFPB Bans Navient from Federal Student Loan Servicing and Orders the Company to
Pay $120 Million for Wide-Ranging Student Lending Failures, Consumer Fin. Prot. Bureau (Sept.
12, 2024), https://perma.cc/X4DK-U5N5.
        26
            Douglas Gillison, Consumer protection agency neutralized by Trump’s new chief,
REUTERS (Feb. 10, 2025), https://perma.cc/W8NX-GE9X.
        27
           SBPC/CFA Memo, supra note 3.
        28
           Gillison, Trump admin drops 5 consumer watchdog cases, including Capital One, supra
note 3.
                                               15
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million. 29 Without the Bureau serving as a watchdog, financial institutions will be emboldened to

engage in unfair, deceptive, and abusive practices in violation of consumer protection laws—

hurting consumers, placing smaller banks that remain subject to regulation by other agencies at a

competitive disadvantage, and creating the kind of market instability that Dodd-Frank was

designed to prevent.

Minimizing Risk in Consumer Financial Markets

       The CFPB also plays a key role in managing lenders’ legal risks so that consumers can

access necessary credit, including mortgages, credit cards, and auto loans. The Bureau does this

by issuing rules creating “safe harbors” that allow companies to avoid legal liability if they meet

certain requirements. Under the Truth in Lending Act (TILA), for example, creditors face civil

legal liability if they make residential mortgage loans without a good faith determination that the

consumer can pay the loan. See 15 U.S.C. §§ 1639c(a), 1640(a). Without the Bureau’s guidance,

that legal exposure risked chilling lenders into issuing fewer mortgages, potentially “dry[ing] up

the supply of financing for the housing market and hurting consumers.” 30 The CFPB, however,

has promulgated a safe-harbor rule under which “qualified mortgages”—such as those where the

loan’s annual percentage rate is at or below a threshold published weekly by the CFPB—are

deemed to comply with TILA’s ability-to-repay requirements. 12 C.F.R. § 1026.43(e). The CFPB

also issues model forms that lenders can use to avoid liability for failing to make required

disclosures, and it has issued more than 120 to date. 12 C.F.R. § 1026 (Regulation Z), apps. G, H.

Without updates, these safe harbors and model forms could soon become obsolete, meaning that



       29
           CFPB Sues JPMorgan Chase, Bank of America, and Wells Fargo for Allowing Fraud to
Fester on Zelle, Consumer Fin. Prot. Bureau (Dec. 20, 2024), https://perma.cc/6YSQ-PYDQ.
        30
           Brief of Mortgage Bankers Association, et al. as Amici Curiae in Support of Neither
Party, Consumer Fin. Prot. Bureau v. Cmty. Fin. Servs. Ass’n of Am., 601 U.S. 416 (2024) (No.
22-448), at 10.
                                                16
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shuttering the CFPB could severely tighten access to mortgages, credit cards, and the other types

of credit that consumers rely on to navigate financial transactions big and small. See Brief of

Financial Regulation Scholars as Amici Curiae, Consumer Fin. Prot. Bureau v. Cmty. Fin. Servs.

Ass’n of Am., 601 U.S. 416 (2024) (No. 22-448), at 9-10 (estimating “that losing CFPB safe harbors

would tighten credit access for at least 6 million home-mortgage applicants, 25 million car-loan

applicants, and 193 million credit-card customers”).

Combatting Redlining and Discrimination in Consumer Financial Markets

       The CFPB has also carried out its congressional mandate to “ensure the fair, equitable, and

non-discriminatory access to credit for both individuals and communities.” 12 U.S.C. § 5493(c)(2).

As part of this mandate, the CFPB must establish an Office of Fair Lending and Equal Opportunity,

id. § 5493(c)(1), which must provide annual reports to Congress and coordinate its efforts with

other agencies and states, id. § 5493(c)(2). Relatedly, the CFPB is required under the Home

Mortgage Disclosure Act (HMDA), 12 U.S.C. §§ 2801 et seq., to collect and publish demographic

data that is essential for identifying discrimination and other concerning trends in the mortgage

lending industry, and it brings enforcement actions to ensure that lenders are providing the required

information. 31 Not only does this data help the CFPB itself enforce fair lending laws, but it also

helps states and members of the public to do so. The loss of HMDA data would leave both

regulators and the public in the dark as to possible discrimination and problematic trends in

mortgage lending that could signal another financial crisis.




       31
          See, e.g., Bobby Conner, et al., The CFPB is working to reinforce the foundation of a fair,
nondiscriminatory and competitive mortgage market, Consumer Fin. Prot. Bureau (June 28, 2024),
https://perma.cc/9VUE-EYV9; CFPB Orders Bank of America to Pay $12 Million for Reporting
False Mortgage Data, Consumer Fin. Prot. Bureau (Nov. 28, 2023), https://perma.cc/GRS2-
5MW9.
                                                 17
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        The CFPB has also advanced Congress’s mandate to advance fair lending goals by

supervising financial institutions’ compliance with the Equal Credit Opportunity Act (ECOA), 15

U.S.C. § 1691 et seq., a landmark civil rights law that protects consumers from discrimination in

credit transactions, and robustly enforcing the Act when financial institutions do not comply. As

one of many examples, just last month, the CFPB took enforcement action against Draper &

Kramer Mortgage Corporation for discriminatory redlining practices like intentionally

concentrating its marketing in majority-white neighborhoods and avoiding marketing to majority-

Black and Hispanic areas, resulting in disproportionately low numbers of mortgages in majority-

Black and Hispanic neighborhoods compared to other lenders. 32 The CFPB’s consent order bans

Draper from engaging in residential mortgage lending for five years and requires it to pay a $1.5

million civil money penalty. 33 As another example, in November 2023, the CFPB ordered Citibank

to pay $25.9 million in fines and consumer redress for intentionally discriminating against

Armenian-American credit card applicants. 34 And in December 2023, the Bureau sued a Texas

company, Colony Ridge, for targeting Hispanic borrowers with predatory loans to buy flood-prone

land lacking water, sewer, or electrical infrastructure. 35

Protecting Servicemembers

        As a final example, the CFPB works to protect servicemembers, including by enforcing

the Military Lending Act of 2006 (MLA), 10 U.S.C. § 987, which protects servicemembers and

their families from predatory lending practices. To date, the CFPB’s congressionally mandated




        32
         CFPB Takes Action Against Draper & Kramer Mortgage for Discriminatory Mortgage
Lending Practices, Consumer Fin. Prot. Bureau (Jan. 17, 2025), https://perma.cc/VH6N-92DJ.
      33
         Id.
      34
         Consumer Fin. Prot. Bureau, Fair Lending Report of the Consumer Financial Protection
Bureau 28-29 (June 2024).
      35
         Id. at 29.
                                                  18
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Office of Servicemember Affairs has fielded more than 400,000 complaints. 36 See 12 U.S.C.

§ 5493(e)(1). In response to these complaints, it has initiated enforcement actions, provided

guidance to financial institutions under its supervision on how to comply with consumer financial

protection laws affecting servicemembers, and referred complaints to other agencies that also have

enforcement authority for servicemember protections but are not set up to receive complaints

directly from impacted people, such as the Department of Justice, which enforces the

Servicemembers Credit Relief Act (SCRA), 50 U.S.C. §501 et seq. 37

       As a Department of Defense report found, the CFPB’s enforcement work has advanced the

Department’s “goals of ensuring that service members have access to fair, responsible credit.” 38

To date, the CFPB has brought enforcement actions in forty-two cases involving harm to

servicemembers and veterans, delivering $183 million in redress to those particular consumers. 39

For example, in 2023, TitleMax was required to pay more than $5 million to consumers and a $10

million civil penalty for violating the MLA and other consumer financial protection laws by

extending car title loans with unlawful interest rates, failing to make certain disclosures, and

imposing unlawful arbitration and onerous notice requirements. 40 As another example, in 2024,

the CFPB returned $6 million in financial relief to veterans who were misled into selling their

pension and disability benefits. 41




       36
          Office of Servicemember Affairs, The CFPB is protecting the military community and
providing relief, Consumer Fin. Prot. Bureau (May 23, 2024), https://perma.cc/EH8F-TD7C.
       37
          Id.
       38
          U.S. Dep’t of Def., Report on the Military Lending Act and the Effects of High Interest
Rates on Readiness 15 (2021).
       39
          Office of Servicemember Affairs, supra note 34.
       40
          See TMX Finance LLC, CFPB No. 2023-CFPB-1 (Feb. 23, 2023) (consent order).
       41
           CFPB to distribute nearly $6 million to consumers harmed by predatory loans to
veterans, Consumer Fin. Prot. Bureau (Jan. 2, 2024), https://perma.cc/QJ7F-NLGV.
                                               19
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          Defendants’ actions threaten to once again leave servicemembers and their families

exposed to the predatory practices Congress sought to halt. Indeed, the Bureau already appears to

have suspended a lawsuit against MoneyLion Technologies for allegedly overcharging

servicemembers on loans and refusing to cancel memberships in violation of the MLA. 42 And even

if other agencies might theoretically enforce the MLA and SCRA, the loss of the CFPB’s

supervision and an office to receive servicemembers’ complaints would be substantial, making it

difficult to identify and respond to the ever-changing practices being used to target servicemembers

and their families.

                                                  ***

          The scope and breadth of the Bureau’s work cannot be overstated. The CFPB has

successfully implemented the statutory functions envisioned in Dodd-Frank, returning billions of

dollars to consumers defrauded by entities like large banks, loan servicers, debt collectors, and

payday lenders, and protecting the financial markets on which our economy depends. Its regulatory

guidance provides pathways for small businesses to ensure their compliance with federal law and

minimize the risk of operating in the consumer financial marketplace. And its consumer-facing

work allows the Bureau to interact directly with the country’s most economically vulnerable

populations, lowering the barriers to economic mobility and providing victimized consumers with

a chance for recourse and accountability. An end to the Bureau would mean an end to this work.

    IV.            Although other federal agencies and states play an important role in protecting
                   consumers, they would not fill the regulatory gap left by a dismantled CFPB.

          No other entity can fill the CFPB’s shoes. Thus, the dissolution of the Bureau will “trigger

a major regulatory disruption and . . . leave appreciable damage to Congress’s work in the

consumer-finance arena.” Seila Law, 591 U.S. at 237.


          42
               SBPC/CFA Memo, supra note 4.
                                                  20
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       Other federal agencies. As explained, Congress chose to make the CFPB the first and often

only line of defense against the type of practices that contributed to the financial crisis in 2008.

Without the CFPB, no federal agency would have the authority to make rules interpreting many

federal consumer protection laws, to supervise large banks and various nonbanks’ compliance with

consumer financial protection laws, and to enforce those laws against the institutions that are at

the highest risk of contributing to instability in financial markets. Dismantling the CFPB now

arguably would leave an even riskier regulatory landscape than the one that led to the 2008

financial crisis. Before the crisis, seven federal agencies were charged with some amount of

consumer financial protection authority, even if those agencies did not exercise that authority to

the same extent as the CFPB. Because Congress, through Dodd-Frank, rejected that approach in

favor of a new framework centered around the CFPB, no other federal agency has the lawful

authority to fully pick up the Bureau’s mantle.

       Even if Congress reallocated the Bureau’s responsibilities to other federal agencies, the

redistribution would still severely disrupt financial markets and leave consumers vulnerable. First,

the experience of Dodd-Frank shows that this work takes time. No matter how motivated, Congress

would be simply unable to immediately enact a comprehensive overhaul of the entire federal

consumer financial protection statutory and regulatory landscape, meaning there would be a

destabilizing gap before any agency was authorized to interpret and enforce consumer financial

protection laws. In the meantime, the systems relied on by financial institutions and consumers

would fall into disarray—banks could not rely on regulatory guidance, consumers could not file

complaints, enforcement would grind to a halt, and banks and nonbanks alike could engage in

unscrupulous behavior in the absence of ongoing supervision.




                                                  21
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       Second, Dodd-Frank’s framework was not created haphazardly. It was the product of an

extensive legislative process that determined that problems of disparate authority, political

influence, and regulatory capture helped contribute to the financial crisis of 2008. For the first time

in the nation’s history, Congress created a single federal agency to look out for consumers.

Thousands of people work at the CFPB with the sole aim of carrying out these statutory mandates.

Particularly as President Trump slashes personnel and budgets at agencies across the federal

government, it is difficult to imagine any agency being able to replicate the consumer financial

protection expertise of the CFPB’s staff or to carry on supervision and enforcement efforts at the

same level. Indeed, the CFPB was created in part to address the lack of resources and expertise

being directed at consumer financial protection issues at other agencies. So, even if it were lawful

to dismantle the Bureau absent direction from Congress—and it is not—authorizing other agencies

to enforce consumer financial protection laws would not be a substitute for the CFPB. It would, at

best, be a return to the unstable state of affairs pre-Dodd-Frank.

       States. Nor will states be able to fully take on the critical work that the CFPB does to

protect consumers and stabilize markets. To begin with, states cannot step in to supervise the

financial institutions, like large national banks, that the CFPB currently has sole statutory authority

to oversee. See 12 U.S.C. § 5515(b)(1). The CFPB also plays a central role in supervising various

nonbank financial institutions, like mortgage companies and payday lenders. See id. § 5514(b)(1).

Dismantling the Bureau would therefore create a perverse situation in which the institutions most

likely to destabilize the economy—currently holding assets collectively totaling more than $21

trillion 43—would be subject to the least amount of oversight.



       43
           See Institutions Subject to Supervisory Authority, Consumer Fin. Prot. Bureau,
https://perma.cc/CR4W-ALZ2 (last visited Feb. 26, 2025) (summing the total assets of all CFPB
depository institutions and affiliates as of June 30, 2024).
                                                  22
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       States’ ability to challenge these institutions’ practices as unfair, deceptive, or abusive is

also limited without a rule by the CFPB defining a practice as such. 12 U.S.C. §§ 5531, 5552(a)(2).

In light of Defendants’ instruction to cease work, if the CFPB stops issuing such rules, the concept

of unfair, deceptive, or abusive practices will be frozen in time, making it more difficult for states

to respond to changes in the financial marketplace and unfair practices facilitated by emerging

technologies like artificial intelligence and cryptocurrency.

       States are also limited in their ability to bring enforcement actions under their own laws.

Federal law preempts state laws regulating national banks when the state law “prevents or

significantly interferes with the national bank’s exercise of its powers,” Cantero v. Bank of Am.,

602 U.S. 205, 220 (2024); see also Easton v. Iowa, 188 U.S. 220, 229, 230-31 (1903) (similar),

and historically, some courts have interpreted this preemptive reach broadly, see, e.g., Beneficial

Nat’l Bank v. Anderson, 539 U.S. 1, 11 (2003) (holding that the National Bank Act preempts state-

law usury claims against national banks). Although Dodd-Frank limited the scope of National

Bank Act preemption, see Cantero, 602 U.S. at 214, the OCC has continued to interpret the

preemptive reach of federal law broadly enough to preempt whole categories of state consumer

financial laws regarding, for example, the terms of credit or disclosure requirements for bank

accounts. 44 Even if the OCC’s approach has faced scrutiny, 45 there is no doubt that preemption

continues to hinder states from creating and implementing their own comprehensive regulatory

frameworks. Without the CFPB, these enforcement issues will multiply because, in the Bureau’s




       44
           OCC Ignores Dodd-Frank Act’s Repeal of 2004 Preemption Regulations, Nat’l
Consumer Law Center (2011), https://perma.cc/W6W4-MBYC; Office of Thrift Supervision
Integration; Dodd-Frank Act Implementation, 76 Fed. Reg. 30557 (proposed May 26, 2011).
        45
           Letter from Nat’l Consumer Law Center et al., to Michael J. Hsu, Acting Comptroller,
Officer of the Comptroller of the Currency (July 19, 2024) (on file with the Nat’l Consumer Law
Center), https://perma.cc/7VA5-VNDP.
                                                 23
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absence, state-chartered banks may be tempted to re-charter as national banks in an effort to avoid

supervision for compliance with consumer financial protection laws.

       Legal constraints aside, state attorneys general are limited in their practical abilities to

supervise, investigate, and enforce the law to the same extent as the CFPB. Through Dodd-Frank,

Congress explicitly created the CFPB to act as a federal complement and counterpart to state

attorneys general. And, as the States’ amicus brief makes clear, states rely on the CFPB’s

supervision and investigatory efforts to inform and support their own regulatory and enforcement

work. See generally ECF 24. Without the federal-state collaboration envisioned by Dodd-Frank,

states will be hampered in their ability to protect their constituent consumers.

       Private enforcement. For many of the same reasons, private enforcement of consumer

financial protection law cannot take the place of the CFPB. For one, the combination of the CFPB’s

consumer-complaint system and supervisory authority to examine large banks and many nonbanks

enables it to uncover possible issues that are not apparent to the public. And not all consumer

financial protection statutes can be enforced privately. Indeed, the CFPA itself “did not create a

private right of action,” so consumers cannot challenge a practice as unfair, deceptive, or abusive

under the CFPA. See Schooley v. Option One Mortg. Corp., No. 23-12341, 2024 WL 3440178, at

*1 (11th Cir. July 17, 2024).

       Finally, as a practical matter, consumers are unlikely to be able to challenge certain

practices that harm consumers and financial markets because of barriers to bringing private

actions. For example, they may face Article III standing barriers to challenge practices that hurt

both individuals and financial markets but do not cause direct economic injury; they may be subject

to class action waivers or mandatory arbitration provisions that prevent them from seeking class-

wide relief for systemic violations; and they may be unable find a lawyer to represent them in



                                                 24
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individual cases involving relatively small economic losses. 46 In short, the regulatory framework

Congress established in Dodd-Frank is necessary in part because private enforcement is

insufficient.

                                                 ***

        The CFPB is uniquely situated to protect consumers and guard against the predatory

practices that led to the 2008 financial crisis. Both by design and by practical constraint, no one

else would be able to fill many of the regulatory gaps that would be left should Defendants succeed

in their concerted effort to eviscerate the Bureau. Even beyond amici’s constitutional concerns—

and they are significant, see supra Part II—dismantling the CFPB would thus threaten a return to

the financial and economic conditions that led to that meltdown. Defendants’ unlawful conduct

must be stopped.

                                          CONCLUSION

        For the foregoing reasons, the Court should grant Plaintiffs’ motion for a preliminary

injunction.


Date: February 28, 2025                               Respectfully submitted,

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        46
           See, e.g., Luke P. Norris, The Promise and Perils of Private Enforcement, 108 Va. L.
Rev. 1483, 1536 (2022) (stating that “[i]n the banking, credit card, telephone, and cable and
internet sectors, arbitration clauses are present in fifty to ninety percent of consumer contracts”).
                                                 25
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                              CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with all the applicable requirements of LCvR 7(o),

including all formatting requirements set forth in this rule. Specifically, the undersigned certifies

that the brief complies with the applicable page limit set forth in LCvR 7(o) as it contains 25 pages.

       I acknowledge that my brief may be stricken if it fails to comply with any of the applicable

requirements.

                                                              /s/ Lucia Goin
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